          Case 1:12-cv-01386-JMF Document 435 Filed 11/28/18 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
JOSE MARIA ALVES DECASTRO et al.,                                      :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :      12-CV-1386 (JMF)
                  -v-                                                  :
                                                                       :   MEMORANDUM OPINION
DEEPAK KAVADIA et al.,                                                 :       AND ORDER
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        By Opinion and Order entered on October 3, 2018, this Court granted a motion by

Matthew Harris, Esq., former counsel to Plaintiffs Jose Maria Alves DeCastro and DJJ-Mining &

Services (Private) Limited (“DJJ-Mining”), to enforce an attorney’s charging lien against

DeCastro pursuant to Section 475 of the New York Judiciary Law. See DeCastro v. Kavadia,

No. 12-CV-1386 (JMF), 2018 WL 4771528, at *1 (S.D.N.Y. Oct. 3, 2018) (Docket No. 432).

The Court reserved judgment on the amount of the lien, however, and directed Harris to make a

supplemental submission “detailing the amount to which he is entitled based on the fair and

reasonable value of his services,” with accompanying “documentation of his work on this case

prior to, and throughout, the trial, including descriptions of the work performed and the time

expended.” Id. at *8. Harris filed an affirmation with supporting documentation on October 17,

2018. (Docket No. 433 (“Harris Aff.”)). Nonparty Gideon Finkelstein, who holds a judgment

against DJJ-Mining, filed a response on October 27, 2018. (Docket No. 434 (“Opp’n”)).

        As this Court noted in its prior Opinion, “a charging lien ‘should be fixed at the . . . fair

and reasonable value of the services rendered, determined at the time of the discharge and
         Case 1:12-cv-01386-JMF Document 435 Filed 11/28/18 Page 2 of 4



computed on the basis of quantum meruit.’” 2018 WL 4771528, at *3 (quoting Winkfield v.

Kirschenbaum & Phillips, P.C., No. 12-CV-7424 (JMF), 2013 WL 371673, at *2 (S.D.N.Y. Jan.

29, 2013)). In Winkfield, the Court summarized the requisite analysis as follows:

       [I]n assessing the amount of a charging lien on a quantum meruit basis, a court
       should consider (1) the difficulty of the matter; (2) the nature and extent of the
       services rendered; (3) the time reasonably expended on those services; (4) the
       quality of performance by counsel; (5) the qualifications of counsel; (6) the
       amount at issue; and (7) the results obtained (to the extent known). After
       considering the factors relevant to a quantum meruit fee analysis, it is appropriate
       for the court to turn to lodestar analysis to reach a specific dollar figure for the
       value of the services rendered. The determination of the reasonable value of the
       attorney’s services is a matter within the sound discretion of the trial court, and
       the Second Circuit has instructed that a charging lien, although originating at
       common law, is equitable in nature, and the overriding criterion for determining
       the amount of a charging lien is that it be fair.

Winkfield, 2013 WL 371673, at *2 (internal quotation marks, citations, and alterations omitted).

       Conducting that analysis here, the Court finds that Harris’s request — for $90,000 in fees

and costs — is fair and reasonable. Among other things, although the dispute at the heart of the

case was not particularly complex, Defendants’ conduct made litigation of the case much more

difficult and extensive, as Harris was forced to move — successfully — for sanctions and had to

retain a bankruptcy lawyer following trial. Moreover, preparations for trial and trial itself were

complicated by the fact that DeCastro was located abroad and the fact that he and the other two

witnesses called by Harris at trial spoke only limited English. Finally, the results obtained by

Harris speak for themselves: The jury returned a verdict in DeCastro’s favor, giving him the right

(subject to Finkelstein’s claims, of course) to fourteen allegedly valuable uncut diamonds. (As it

turns out, those fourteen diamonds were far less valuable than believed (see Docket Nos. 402,

430), but that is neither here nor there for present purposes.) The fairness and reasonableness of

the amount sought is reinforced by Harris’s time sheets, which — although reconstructed ex post

— conservatively reflect that he worked almost 350 hours on the case. (Harris Aff. Ex. 1).



                                                 2
         Case 1:12-cv-01386-JMF Document 435 Filed 11/28/18 Page 3 of 4



       The Court has considered all of Finkelstein’s arguments in opposition to Harris’s request

and finds that they are without merit. To a large extent, Finkelstein merely seeks to relitigate an

issue that he already argued and lost — namely, that his interest should take precedence over

Harris’s charging lien. See DeCastro, 2018 WL 4771528, at *5-7. Finkelstein did not timely

move for reconsideration, however, and he may not do so now. See, e.g., S.D.N.Y. Local Civ. R.

6.3; Millennium Partners, L.P. v. U.S. Bank Nat’l Ass’n, No. 12-CV-7581 (JGK), 2015 WL

6454844, at *2 (S.D.N.Y. Oct. 26, 2015), aff’d sub nom. Millennium Partners, L.P. v. Wells

Fargo Bank, N.A., 654 F. App’x 507 (2d Cir. 2016). And in any event, he provides no valid

basis for reconsideration. See, e.g., Analytical Surveys, Inc. v. Tonga Partners, L.P., 684 F.3d

36, 52 (2d Cir. 2012) (noting that a motion for reconsideration is “not a vehicle for relitigating

old issues, presenting the case under new theories, securing a rehearing on the merits, or

otherwise taking a second bite at the apple” (internal quotation marks and alteration omitted)).

       Beyond that, Finkelstein’s primary argument is that Harris’s request is excessive because

he had agreed to represent Plaintiffs for only $75,000. (See Opp’n 6). But that is not entirely

accurate, as Plaintiffs also agreed to pay Harris $100,000 in the event that he secured the rights

to the fourteen diamonds. (Harris Aff. 1). Granted, that amount was contingent, but it does have

to be factored into the value of the contract to Harris when he agreed to take the case. More

fundamentally, as the Court noted in its prior Opinion, it is quantum meruit, “not the terms of

Harris’s retainer agreement with DeCastro,” that “govern[s].” DeCastro, 2018 WL 4771528, at

*7; see also Kovach v. City Univ. of N.Y., No. 13-CV-7198 (LGS), 2015 WL 3540798, at *4

(S.D.N.Y. June 4, 2015) (“The theory of quantum meruit, rather than the retainer agreement, is

the basis for determining the amount at which to fix the charging lien.” (internal quotation marks

omitted)).




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         Case 1:12-cv-01386-JMF Document 435 Filed 11/28/18 Page 4 of 4



       For the foregoing reasons, the Court finds that $90,000 is a fair and reasonable amount to

award Harris for his services rendered in this case. Because Plaintiffs already paid Harris

$50,000, however, the Court fixes the amount of Harris’s lien at $40,000. (Harris Aff. 1). Once

that amount is disbursed to Harris, a substantial portion of the proceeds from the sale of the

diamonds (approximately $60,000) will still remain on deposit with the Court. It is therefore

ORDERED that all parties (including Finkelstein) who claim an interest in the proceeds on

deposit appear for a conference before the Court on December 19, 2018 at 3:30 p.m. in

Courtroom 1105 of the Thurgood Marshall U.S. Courthouse, 40 Centre Street, New York New

York, to discuss the appropriate next steps to be taken regarding the remaining funds. The

parties are directed to confer prior to the conference and, thereafter, to submit a joint letter

addressing that topic and whether there is anything the Court can do to facilitate a settlement of

any remaining claims to the proceeds no later than December 13, 2018.

       The Clerk of Court is directed to disburse $40,000 from the amount held in the Court’s

registry to Mr. Harris.

       SO ORDERED.

Date: November 28, 2018
      New York, New York




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